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           4.        Docket number:              KJ

           5.        Name of Judge to whom case was assigned:




           6.        Disposition [Was case dismissed? Appealed? Is it                                    still
                     pending?  What relief was granted, if any?]:




    III.   GRIEVANCE PROCEDURE

    A.     At what institution did the events concerning your current

           complaint take place? PxlwejrSycfe. fUoynw^i TScuV
                                                                        0

    B.     Does the^lristitution listed in A have a grievance procedure?
           Yes [vf    No [ ]

    C.     If your answer to B is YES:

           1.        Did you file-'a grievance based on this complaint?
           Yes   [    ]    No   [V]

           2.        If so, where and when:                         rJf **
           3.        What was the result?                   i




           4.        Did you appeal?                  Yes       [   ]       No   \\/\

           5.        Result of     appeal:




    D.     If there was no prison grievance procedure in the institution
           did you complain to the prison authorities?    Yes [ ]  No

           If your answer is YES:                     What steps did you take?




    E.     If    your     answer      is   NO,    explain why                you    did   not   submit    your
           complaint to the prison authorities.
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   V.      RELIEF

   I understand that in a section 1983 action the Court cannot change
   my    sentence,    release          me   from   custody   or   restore    good    time.   I
   understand I should file a petition for a writ of habeas corpus if
   I desire this type of relief, -fj'f                   [please initial]

   The plaintiff wants the Court to:                 [check those remedies you seek]

            award money damages in the amount of $                   (o 5, JOO
             rant injunctive relief by

             Other _



   VI.     PLACES    OF    INCARCERATION

           Please list the institutions at which you were incarcerated
           during the last six months.    If you were transferred during
           this period, list the date(s) of transfer.  Provide an address
           for each institution.

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   VII.    CONSENT


           CONSENT    TO       TRIAL   BY   A   MAGISTRATE   JUDGE:      The     parties   are
   advised of their right,              pursuant to 28 U.S.C.        § 636(c),      to have a
   U.S. Magistrate Judge preside over a trial,                    with appeal to the U.S.
   Court of Appeals for the Fourth Circuit.

        Do you consent to proceed before a U.S. Magistrate Judge:
   Yes [ ^,3^ No [ ]. You may consent at any time; however, any early
   consent is encouraged.

   VIII.     SIGNATURE


   If there is more than one plaintiff,                 each plaintiff must sign for
   himself or herself.

    Signed this           \o     day of

   Plaintiff
